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                                    7    DR. ESAM YUSUF ABDULKARIM JANAHI and INFRA CAPITAL
                                         INVESTMENTS PJSC
                                    8

                                    9                       UNITED STATES DISTRICT COURT

                                   10         CENTRAL DISTRICT OF CALIFORNIA—WESTERN DIVISION

                                   11
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                                         DR. ESAM YUSUF ABDULKARIM                 Case No. 2:21-CV-03975-VAP-PLA
     IRVINE, CA 92614-7276




                                   12
                                         JANAHI, an individual; et al.
                                   13                                              STIPULATED PROTECTIVE
                                                                                   ORDER
                                   14                      Plaintiffs,
                                                                                   Hon. Judge Virginia A. Phillips
                                   15          vs.                                 Courtroom: 8A
                                   16
                                         IMAAD SHAH ZUBERI, an
                                   17    individual; et al.                        Action Filed: May 11, 2021
                                                                                   Trial Date:   Not Yet Assigned
                                   18
                                                           Defendants.
                                   19

                                   20
                                         AND RELATED COUNTERCLAIM.
                                   21

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                                                                   STIPULATED PROTECTIVE ORDER
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                                    1         STIPULATION REGARDING CONFIDENTIAL INFORMATION
                                    2         Plaintiffs and Counterclaim-Defendants Dr. Esam Yusuf Abdulkarim Janahi
                                    3   (“EJ”) and Infra Capital Investments PJSC (“Infra Capital” and together with EJ,
                                    4   “Plaintiffs”) and Defendant and Counterclaimant Imaad Shah Zuberi (“Zuberi”),
                                    5   and Defendants Avenue Capital Group, Inc., Avenue Investments Services Inc., and
                                    6   Avenue Ventures (together with Zuberi, “Defendants”, and collectively, the
                                    7   “Parties”) stipulate, through their respective attorneys of record and pursuant to
                                    8   Federal Rules of Civil Procedure 26(c) and 29, that upon entry of the proposed
                                    9   Protective Order, discovery in this case of sensitive financial, confidential business,
                                   10   and/or trade secret information of the parties and non-parties to this action shall be
                                   11   conducted on the following terms and conditions:
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                                        I.    PURPOSES AND LIMITATIONS
     IRVINE, CA 92614-7276




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                                   13         A.     Discovery in this action is likely to involve production of confidential,
                                   14   proprietary, or private information for which special protection from public
                                   15   disclosure and from use for any purpose other than prosecuting this litigation may
                                   16   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
                                   17   enter the following Stipulated Protective Order. The parties acknowledge that this
                                   18   Order does not confer blanket protections on all disclosures or responses to
                                   19   discovery and that the protection it affords from public disclosure and use extends
                                   20   only to the limited information or items that are entitled to confidential treatment
                                   21   under the applicable legal principles. The parties further acknowledge, as set forth
                                   22   in Section XIII(C), below, that this Stipulated Protective Order does not entitle them
                                   23   to file confidential information under seal; Civil Local Rule 79-5 sets forth the
                                   24   procedures that must be followed and the standards that will be applied when a party
                                   25   seeks permission from the Court to file material under seal.
                                   26   II.   GOOD CAUSE STATEMENT
                                   27         A.     This action is likely to involve sensitive, confidential personal financial
                                   28   information for which special protection from public disclosure and from use for
                                                                                  2
                                                                     STIPULATED PROTECTIVE ORDER
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                                    1   any purpose other than prosecution of this action is warranted. Such confidential
                                    2   and proprietary materials and information consist of, among other things,
                                    3   confidential business or financial information (including information implicating
                                    4   privacy rights of third parties), information otherwise generally unavailable to the
                                    5   public, or which may be privileged or otherwise protected from disclosure under
                                    6   state or federal statutes, court rules, case decisions, or common law. Accordingly, to
                                    7   expedite the flow of information, to facilitate the prompt resolution of disputes over
                                    8   confidentiality of discovery materials, to adequately protect information the parties
                                    9   are entitled to keep confidential, to ensure that the parties are permitted reasonable
                                   10   necessary uses of such material in preparation for and in the conduct of trial, to
                                   11   address their handling at the end of the litigation, and serve the ends of justice, a
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                                        protective order for such information is justified in this matter. It is the intent of the
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                                   13   parties that information will not be designated as confidential for tactical reasons
                                   14   and that nothing be so designated without a good faith belief that it has been
                                   15   maintained in a confidential, non-public manner, and there is good cause why it
                                   16   should not be part of the public record of this case.
                                   17   III.   DEFINITIONS
                                   18          A.     Action: This pending federal lawsuit, Dr. Esam Yusuf Abdulkarim
                                   19   Janahi v. Imaad Shah Zuberi, et al., Case No. 2:21-CV-03975-VAP-PLA.
                                   20          B.     Challenging Party: A Party or Non-Party that challenges the
                                   21   designation of information or items under this Order.
                                   22          C.     “CONFIDENTIAL” Information or Items: Information (regardless of
                                   23   how it is generated, stored or maintained) or tangible things that qualify for
                                   24   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
                                   25   the Good Cause Statement.
                                   26          D.     Counsel: Outside Counsel of Record and House Counsel (as well as
                                   27   their support staff).
                                   28          E.     Designating Party: A Party or Non-Party that designates information or
                                                                                    3
                                                                      STIPULATED PROTECTIVE ORDER
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                                    1   items that it produces in disclosures or in responses to discovery as
                                    2   “CONFIDENTIAL.”
                                    3         F.     Disclosure or Discovery Material: All items or information, regardless
                                    4   of the medium or manner in which it is generated, stored, or maintained (including,
                                    5   among other things, testimony, transcripts, and tangible things), that are produced or
                                    6   generated in disclosures or responses to discovery in this matter.
                                    7         G.     Expert: A person with specialized knowledge or experience in a matter
                                    8   pertinent to the litigation who has been retained by a Party or its counsel to serve as
                                    9   an expert witness or as a consultant in this Action.
                                   10         H.     House Counsel: Attorneys who are employees of a party to this Action.
                                   11   House Counsel does not include Outside Counsel of Record or any other outside
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                                        counsel.
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                                   13         I.     Non-Party: Any natural person, partnership, corporation, association,
                                   14   or other legal entity not named as a Party to this action.
                                   15         J.     Outside Counsel of Record: Attorneys who are not employees of a
                                   16   party to this Action but are retained to represent or advise a party to this Action and
                                   17   have appeared in this Action on behalf of that party or are affiliated with a law firm
                                   18   which has appeared on behalf of that party, and includes support staff.
                                   19         K.     Party: Any party to this Action, including all of its officers, directors,
                                   20   employees, consultants, retained experts, and Outside Counsel of Record (and their
                                   21   support staffs).
                                   22         L.     Producing Party: A Party or Non-Party that produces Disclosure or
                                   23   Discovery Material in this Action.
                                   24         M.     Professional Vendors: Persons or entities that provide litigation
                                   25   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
                                   26   demonstrations, and organizing, storing, or retrieving data in any form or medium)
                                   27   and their employees and subcontractors.
                                   28         N.     Protected Material: Any Disclosure or Discovery Material that is
                                                                                   4
                                                                     STIPULATED PROTECTIVE ORDER
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                                    1   designated as “CONFIDENTIAL.”
                                    2         O.     Receiving Party: A Party that receives Disclosure or Discovery
                                    3   Material from a Producing Party.
                                    4   IV.   SCOPE
                                    5         A.     The protections conferred by this Stipulation and Order cover not only
                                    6   Protected Material (as defined above), but also (1) any information copied or
                                    7   extracted from Protected Material; (2) all copies, excerpts, summaries, or
                                    8   compilations of Protected Material; and (3) any testimony, conversations, or
                                    9   presentations by Parties or their Counsel that might reveal Protected Material.
                                   10         B.     Any use of Protected Material at trial shall be governed by the orders of
                                   11   the trial judge. This Order does not govern the use of Protected Material at trial.
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                                        V.    DURATION
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                                   13         A.     Even after final disposition of this litigation, the confidentiality
                                   14   obligations imposed by this Order shall remain in effect until a Designating Party
                                   15   agrees otherwise in writing or a court order otherwise directs. Final disposition shall
                                   16   be deemed to be the later of (1) dismissal of all claims and defenses in this Action,
                                   17   with or without prejudice; and (2) final judgment herein after the completion and
                                   18   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
                                   19   including the time limits for filing any motions or applications for extension of time
                                   20   pursuant to applicable law.
                                   21   VI.   DESIGNATING PROTECTED MATERIAL
                                   22         A.     Exercise of Restraint and Care in Designating Material for Protection
                                   23                1.    Each Party or Non-Party that designates information or items for
                                   24   protection under this Order must take care to limit any such designation to specific
                                   25   material that qualifies under the appropriate standards. The Designating Party must
                                   26   designate for protection only those parts of material, documents, items, or oral or
                                   27   written communications that qualify so that other portions of the material,
                                   28   documents, items, or communications for which protection is not warranted are not
                                                                                   5
                                                                      STIPULATED PROTECTIVE ORDER
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                                    1   swept unjustifiably within the ambit of this Order.
                                    2                  2.   Mass, indiscriminate, or routinized designations are prohibited.
                                    3   Designations that are shown to be clearly unjustified or that have been made for an
                                    4   improper purpose (e.g., to unnecessarily encumber the case development process or
                                    5   to impose unnecessary expenses and burdens on other parties) may expose the
                                    6   Designating Party to sanctions.
                                    7                  3.   If it comes to a Designating Party’s attention that information or
                                    8   items that it designated for protection do not qualify for protection, that Designating
                                    9   Party must promptly notify all other Parties that it is withdrawing the inapplicable
                                   10   designation.
                                   11         B.       Manner and Timing of Designations
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                                                       1.   Except as otherwise provided in this Order (see, e.g., Section
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                                   13   B(2)(b) below), or as otherwise stipulated or ordered, Disclosure or Discovery
                                   14   Material that qualifies for protection under this Order must be clearly so designated
                                   15   before the material is disclosed or produced.
                                   16                  2.   Designation in conformity with this Order requires the following:
                                   17                       a.    For information in documentary form (e.g., paper or
                                   18   electronic documents, but excluding transcripts of depositions or other pretrial or
                                   19   trial proceedings), that the Producing Party affix at a minimum, the legend
                                   20   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
                                   21   contains protected material. If only a portion or portions of the material on a page
                                   22   qualifies for protection, the Producing Party also must clearly identify the protected
                                   23   portion(s) (e.g., by making appropriate markings in the margins).
                                   24                       b.    A Party or Non-Party that makes original documents
                                   25   available for inspection need not designate them for protection until after the
                                   26   inspecting Party has indicated which documents it would like copied and produced.
                                   27   During the inspection and before the designation, all of the material made available
                                   28   for inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has
                                                                                  6
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                                    1   identified the documents it wants copied and produced, the Producing Party must
                                    2   determine which documents, or portions thereof, qualify for protection under this
                                    3   Order. Then, before producing the specified documents, the Producing Party must
                                    4   affix the “CONFIDENTIAL legend” to each page that contains Protected Material.
                                    5   If only a portion or portions of the material on a page qualifies for protection, the
                                    6   Producing Party also must clearly identify the protected portion(s) (e.g., by making
                                    7   appropriate markings in the margins).
                                    8                       c.    For testimony given in depositions, that the Designating
                                    9   Party identify the Disclosure or Discovery Material on the record, before the close
                                   10   of the deposition all protected testimony.
                                   11                       d.    For information produced in form other than document
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                                        and for any other tangible items, that the Producing Party affix in a prominent place
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                                   13   on the exterior of the container or containers in which the information is stored the
                                   14   legend “CONFIDENTIAL.” If only a portion or portions of the information
                                   15   warrants protection, the Producing Party, to the extent practicable, shall identify the
                                   16   protected portion(s).
                                   17         C.     Inadvertent Failure to Designate
                                   18                1.     If timely corrected, an inadvertent failure to designate qualified
                                   19   information or items does not, standing alone, waive the Designating Party’s right to
                                   20   secure protection under this Order for such material. Upon timely correction of a
                                   21   designation, the Receiving Party must make reasonable efforts to assure that the
                                   22   material is treated in accordance with the provisions of this Order.
                                   23   VII. CHALLENGING CONFIDENTIALITY DESIGNATIONS
                                   24         A.     Timing of Challenges
                                   25                1.     Any party or Non-Party may challenge a designation of
                                   26   confidentiality at any time that is consistent with the Court’s Scheduling Order.
                                   27         B.     Meet and Confer
                                   28                1.     The Challenging Party shall initiate the dispute resolution
                                                                                     7
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                                    1   process under Local Rule 37.1 et seq.
                                    2         C.     The burden of persuasion in any such challenge proceeding shall be on
                                    3   the Designating Party. Frivolous challenges, and those made for an improper
                                    4   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
                                    5   parties) may expose the Challenging Party to sanctions. Unless the Designating
                                    6   Party has waived or withdrawn the confidentiality designation, all parties shall
                                    7   continue to afford the material in question the level of protection to which it is
                                    8   entitled under the Producing Party’s designation until the Court rules on the
                                    9   challenge.
                                   10   VIII. ACCESS TO AND USE OF PROTECTED MATERIAL
                                   11         A.     Basic Principles
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                                                     1.     A Receiving Party may use Protected Material that is disclosed
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                                   13   or produced by another Party or by a Non-Party in connection with this Action only
                                   14   for prosecuting, defending, or attempting to settle this Action. Such Protected
                                   15   Material may be disclosed only to the categories of persons and under the conditions
                                   16   described in this Order. When the Action has been terminated, a Receiving Party
                                   17   must comply with the provisions of Section XIV below.
                                   18                2.     Protected Material must be stored and maintained by a Receiving
                                   19   Party at a location and in a secure manner that ensures that access is limited to the
                                   20   persons authorized under this Order.
                                   21         B.     Disclosure of “CONFIDENTIAL” Information or Items
                                   22                1.     Unless otherwise ordered by the Court or permitted in writing by
                                   23   the Designating Party, a Receiving Party may disclose any information or item
                                   24   designated “CONFIDENTIAL” only to:
                                   25                       a.    The Receiving Party’s Outside Counsel of Record in this
                                   26   Action, as well as employees of said Outside Counsel of Record to whom it is
                                   27   reasonably necessary to disclose the information for this Action;
                                   28                       b.    The officers, directors, and employees (including House
                                                                                   8
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                                    1   Counsel) of the Receiving Party to whom disclosure is reasonably necessary for this
                                    2   Action;
                                    3                       c.   Experts (as defined in this Order) of the Receiving Party to
                                    4   whom disclosure is reasonably necessary for this Action and who have signed the
                                    5   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                    6                       d.   The Court and its personnel;
                                    7                       e.   Court reporters and their staff;
                                    8                       f.   Professional jury or trial consultants, mock jurors, and
                                    9   Professional Vendors to whom disclosure is reasonably necessary or this Action and
                                   10   who have signed the “Acknowledgment and Agreement to be Bound” attached as
                                   11   Exhibit A hereto;
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                                                            g.   The author or recipient of a document containing the
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                                   13   information or a custodian or other person who otherwise possessed or knew the
                                   14   information;
                                   15                       h.   During their depositions, witnesses, and attorneys for
                                   16   witnesses, in the Action to whom disclosure is reasonably necessary provided: (i)
                                   17   the deposing party requests that the witness sign the “Acknowledgment and
                                   18   Agreement to Be Bound;” and (ii) they will not be permitted to keep any
                                   19   confidential information unless they sign the “Acknowledgment and Agreement to
                                   20   Be Bound,” unless otherwise agreed by the Designating Party or ordered by the
                                   21   Court. Pages of transcribed deposition testimony or exhibits to depositions that
                                   22   reveal Protected Material may be separately bound by the court reporter and may
                                   23   not be disclosed to anyone except as permitted under this Stipulated Protective
                                   24   Order; and
                                   25                       i.   Any mediator or settlement officer, and their supporting
                                   26   personnel, mutually agreed upon by any of the parties engaged in settlement
                                   27   discussions.
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                                                                    STIPULATED PROTECTIVE ORDER
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                                     1   IX.   PROTECTED MATERIAL SUPOENAED OR ORDERED PRODUCED
                                     2         IN OTHER LITIGATION
                                     3         A.     If a Party is served with a subpoena or a court order issued in other civil
                                     4   litigation that compels disclosure of any information or items designated in this
                                     5   Action as “CONFIDENTIAL,” that Party must, to the extent not prohibited by law:
                                     6                1.     Promptly notify in writing the Designating Party. Such
                                     7   notification shall include a copy of the subpoena or court order;
                                     8                2.     Promptly notify in writing the party who caused the subpoena or
                                     9   order to issue in the other litigation that some or all of the material covered by the
                                    10   subpoena or order is subject to this Protective Order. Such notification shall include
                                    11   a copy of this Stipulated Protective Order; and
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                                                      3.     Cooperate with respect to all reasonable procedures sought to be
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                                    13   pursued by the Designating Party whose Protected Material may be affected.
                                    14         B.     If the Designating Party timely seeks a protective order, the Party
                                    15   served with the subpoena or court order shall not produce any information
                                    16   designated in this action as “CONFIDENTIAL” before a determination by the Court
                                    17   from which the subpoena or order issued, unless the Party has obtained the
                                    18   Designating Party’s permission. The Designating Party shall bear the burden and
                                    19   expense of seeking protection in that court of its confidential material and nothing in
                                    20   these provisions should be construed as authorizing or encouraging a Receiving
                                    21   Party in this Action to disobey a lawful directive from another court.
                                    22   X.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
                                    23         PRODUCED IN THIS LITIGATION
                                    24         A.     The terms of this Order are applicable to information produced by a
                                    25   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
                                    26   produced by Non-Parties in connection with this litigation is protected by the
                                    27   remedies and relief provided by this Order. Nothing in these provisions should be
                                    28   construed as prohibiting a Non-Party from seeking additional protections.
                                                                                   10
                                                                      STIPULATED PROTECTIVE ORDER
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                                     1         B.     In the event that a Party is required, by a valid discovery request, to
                                     2   produce a Non-Party’s confidential information in its possession, and the Party is
                                     3   subject to an agreement with the Non-Party not to produce the Non-Party’s
                                     4   confidential information, then the Party shall:
                                     5                1.     Promptly notify in writing the Requesting Party and the Non-
                                     6   Party that some or all of the information requested is subject to a confidentiality
                                     7   agreement with a Non-Party;
                                     8                2.     Promptly provide the Non-Party with a copy of the Stipulated
                                     9   Protective Order in this Action, the relevant discovery request(s), and a reasonably
                                    10   specific description of the information requested; and
                                    11                3.     Make the information requested available for inspection by the
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                                         Non-Party, if requested.
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                                    13         C.     If the Non-Party fails to seek a protective order from this court within
                                    14   14 days of receiving the notice and accompanying information, the Receiving Party
                                    15   may produce the Non-Party’s confidential information responsive to the discovery
                                    16   request. If the Non-Party timely seeks a protective order, the Receiving Party shall
                                    17   not produce any information in its possession or control that is subject to the
                                    18   confidentiality agreement with the Non-Party before a determination by the court.
                                    19   Absent a court order to the contrary, the Non-Party shall bear the burden and
                                    20   expense of seeking protection in this court of its Protected Material.
                                    21   XI.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                                    22         A.     If a Receiving Party learns that, by inadvertence or otherwise, it has
                                    23   disclosed Protected Material to any person or in any circumstance not authorized
                                    24   under this Stipulated Protective Order, the Receiving Party must immediately (1)
                                    25   notify in writing the Designating Party of the unauthorized disclosures, (2) use its
                                    26   best efforts to retrieve all unauthorized copies of the Protected Material, (3) inform
                                    27   the person or persons to whom unauthorized disclosures were made of all the terms
                                    28   of this Order, and (4) request such person or persons to execute the
                                                                                   11
                                                                      STIPULATED PROTECTIVE ORDER
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                                     1   “Acknowledgment and Agreement to be Bound” that is attached hereto as Exhibit
                                     2   A.
                                     3   XII. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                                     4         PROTECTED MATERIAL
                                     5         A.     When a Producing Party gives notice to Receiving Parties that certain
                                     6   inadvertently produced material is subject to a claim of privilege or other protection,
                                     7   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
                                     8   Procedure 26(b)(5)(B) and the Parties agreed upon ESI protocol. This provision is
                                     9   not intended to modify whatever procedure may be established in an e-discovery
                                    10   order that provides for production without prior privilege review. Pursuant to
                                    11   Federal Rule of Evidence 502(d) and (e), insofar as the parties reach an agreement
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                                         on the effect of disclosure of a communication or information covered by the
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                                    13   attorney-client privilege or work product protection, the parties may incorporate
                                    14   their agreement in the Stipulated Protective Order submitted to the Court.
                                    15   XIII. MISCELLANEOUS
                                    16         A.     Right to Further Relief
                                    17                1.    Nothing in this Order abridges the right of any person to seek its
                                    18   modification by the Court in the future.
                                    19         B.     Right to Assert Other Objections
                                    20                1.    By stipulating to the entry of this Protective Order, no Party
                                    21   waives any right it otherwise would have to object to disclosing or producing any
                                    22   information or item on any ground not addressed in this Stipulated Protective Order.
                                    23   Similarly, no Party waives any right to object on any ground to use in evidence of
                                    24   any of the material covered by this Protective Order.
                                    25         C.     Filing Protected Material
                                    26                1.    A Party that seeks to file under seal any Protected Material must
                                    27   comply with Civil Local Rule 79-5. Protected Material may only be filed under seal
                                    28   pursuant to a court order authorizing the sealing of the specific Protected Material at
                                                                                    12
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                                     1   issue. If a Party's request to file Protected Material under seal is denied by the
                                     2   Court, then the Receiving Party may file the information in the public record unless
                                     3   otherwise instructed by the Court.
                                     4   XIV. FINAL DISPOSITION
                                     5         A.     After the final disposition of this Action, as defined in Section V,
                                     6   within sixty (60) days of a written request by the Designating Party, each Receiving
                                     7   Party must return all Protected Material to the Producing Party or destroy such
                                     8   material. As used in this subdivision, “all Protected Material” includes all copies,
                                     9   abstracts, compilations, summaries, and any other format reproducing or capturing
                                    10   any of the Protected Material. Whether the Protected Material is returned or
                                    11   destroyed, the Receiving Party must submit a written certification to the Producing
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                                         Party (and, if not the same person or entity, to the Designating Party) by the 60 day
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                                    12

                                    13   deadline that (1) identifies (by category, where appropriate) all the Protected
                                    14   Material that was returned or destroyed and (2) affirms that the Receiving Party has
                                    15   not retained any copies, abstracts, compilations, summaries or any other format
                                    16   reproducing or capturing any of the Protected Material. Notwithstanding this
                                    17   provision, Counsel are entitled to retain an archival copy of all pleadings, motion
                                    18   papers, trial, deposition, and hearing transcripts, legal memoranda, correspondence,
                                    19   deposition and trial exhibits, expert reports, attorney work product, and consultant
                                    20   and expert work product, even if such materials contain Protected Material. Any
                                    21   such archival copies that contain or constitute Protected Material remain subject to
                                    22   this Protective Order as set forth in Section V.
                                    23         B.     Any violation of this Order may be punished by any and all appropriate
                                    24   measures including, without limitation, contempt proceedings and/or monetary
                                    25   sanctions.
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                                                                      STIPULATED PROTECTIVE ORDER
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                                     1   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                                     2

                                     3    Dated: September 29, 2021          BRYAN CAVE LEIGHTON PAISNER
                                                                             LLP
                                     4

                                     5
                                                                             By:
                                     6                                            Anne Redcross Beehler
                                                                             Attorneys for Plaintiffs and Counterclaim-
                                     7                                       Defendants
                                                                             DR. ESAM YUSUF ABDULKARIM
                                     8                                       JANAHI; and INFRA CAPITAL
                                                                             INVESTMENTS PJSC
                                     9

                                    10
                                          Dated: September 29, 2021          KIMURA LONDON & WHITE LLP
                                    11
BRYAN CAVE LEIGHTON PAISNER LLP
  1920 MAIN STREET, SUITE 1000
     IRVINE, CA 92614-7276




                                    12                                       By: /s/Darrel P. White
                                    13                                            Darrell P. White
                                                                             Attorneys for Defendant and
                                    14                                       Counterclaimant IMAAD SHAH ZUBERI,
                                                                             and Defendants AVENUE CAPITAL
                                    15                                       GROUP INC., AVENUE INVESTMENT
                                                                             SERVICES INC., and AVENUE
                                    16                                       VENTURES, an unincorporated
                                                                             association
                                    17

                                    18   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
                                    19

                                    20

                                    21   Dated: September 30, 2021
                                                                            HONORABLE PAUL L. ABRAMS
                                    22                                      United States Magistrate Judge
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                                                                  STIPULATED PROTECTIVE ORDER
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                                     1                                          EXHIBIT A
                                     2                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                                     3            I,                               [print or type full name], of
                                     4                   [print or type full address], declare under penalty of perjury that I have
                                     5   read in its entirety and understand the Stipulated Protective Order that was issue by
                                     6   the United States District Court for the Central District of California on [DATE] in
                                     7   the case of Dr. Esam Yusuf Abdulkarim Janahi v. Imaad Shah Zuberi, et al., Case
                                     8   No. 2:21-CV-03975-VAP-PLA. I agree to comply with and to be bound by all the
                                     9   terms of this Stipulated Protective Order and I understand and acknowledge that
                                    10   failure to so comply could expose me to sanctions and punishment in the nature of
                                    11   contempt. I solemnly promise that I will not disclose in any manner any
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                                         information or item that is subject to this Stipulated Protective Order to any person
     IRVINE, CA 92614-7276




                                    12

                                    13   or entity except in strict compliance with the provisions of this Order.
                                    14           I further agree to submit to the jurisdiction of the United States District Court
                                    15   for the Central District of California for the purpose of enforcing the terms of this
                                    16   Stipulated Protective Order, even if such enforcement proceedings occur after
                                    17   termination of this action. I hereby appoint                                [print or type
                                    18   full name] of                                    [print or type full address and
                                    19   telephone number] as my California agent for service of process in connection with
                                    20   this action or any proceedings related to enforcement of this Stipulated Protective
                                    21   Order.
                                    22   Date:
                                    23   City and State where sworn and signed:
                                    24   Printed Name:
                                    25   Signature:
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                                                                                     15
                                                                        STIPULATED PROTECTIVE ORDER
